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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

    ETRA FERNANDEZ,                                                 CIVIL ACTION
        Plaintiff

    VERSUS                                                          NO. 19-13738

    JEFFERSON PARISH SCHOOL BOARD,                                  SECTION: “E” (1)
        Defendant



                                       ORDER OF DISMISSAL

          IT IS ORDERED that Plaintiff Etra Fernandez’s claim(s) against Defendant

Jefferson Parish School Board are hereby DISMISSED WITHOUT PREJUDICE,

pursuant to Federal Rule of Civil Procedure 41(b), for failure to prosecute and for failure

to comply with the Court’s previous orders 1 requiring Plaintiff to appear at status

conferences.


          New Orleans, Louisiana, this 10th day of June, 2020.


                                                        _____________________________
                                                                SUSIE MORGAN
                                                        UNITED STATES DISTRICT JUDGE




1   R. Docs. 13 and R. Doc. 1 4 as amended by R. Doc. 15.
